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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                    Hon. Paul L. Maloney

 v.

 RAYMOND DONTE CONLEY,                                       Case No. 1:15-cr-00047-PLM-2

            Defendant.
 _________________________________/


                                               ORDER


               Defendant appeared before me on August 19, 2015, with appointed counsel for a

detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After being advised of

his rights, including those attendant to a detention hearing, defendant waived his right to the hearing.

I find that his waiver was knowingly and voluntarily entered.

               Accordingly, IT IS ORDERED that defendant is committed to the custody of the

Attorney General pending trial.

               DONE AND ORDERED this 19th day of August, 2015.




                                                       /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge
